                      UNITED STATES DISTRICT COURT FOR THE
                      WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION


UNITED STATES OF AMERICA                  )                    Case No.: 3:12-CR-239
                                          )
      vs.                                 )
                                          )
CARRIE TYSON (13)                         )
_________________________________________ )

                                           ORDER


       THIS MATTER IS BEFORE THE COURT sua sponte regarding Defendant’s letter to

chambers dated January 28, 2014 (Doc. No. 489). Defendant is ordered to cease sending

correspondence directly to chambers. If the Defendant wishes to notify the Court of something or

request something from the Court, it should be in the form of a motion and should be filed with

the Clerk of Court.

       The Clerk of Court shall certify copies of this Order to the U.S. Marshal Service and the

Bureau of Prisons.

SO ORDERED.

                                        Signed: February 18, 2014




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